          Case: 1:22-cr-00528 Document1:22-cr-00528
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                                     Judge Jeremy C. Daniel
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                                     Magistrate Judge Beth W. Jantz
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                         UNITED STATES DISTRICT COURT
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                         NORTHERN DISTRICT OF ILLINOIS
                        DESIGNATION SHEET FOR CRIMINAL PROCEEDINGS


                   Name                            Issue Arrest Warrant            In Custody
              Xuanyu Harry Pang                             No                         Yes

Is this an indictment or information arising out of offenses charged in one or more previously filed
complaints involving the same parties and relating to the same subject matter? Yes
Case Number: 22 CR 528
Case Title: USA v. Xuanyu Harry Pang

Is this an indictment or information that supersedes one or more previously filed indictments or
informations? No

Is any defendant charged in this matter currently under supervised release in the Northern District of
Illinois? No

Does this indictment or information charge 15 defendants or more? No

Does this indictment or information charge between 8-14 defendants, or charge Capital murder?
No

What is the most severe level of offense/penalty in this indictment or information?
Terrorism III

Does the indictment or information charge a felony offense? Yes

List of Statutes: 18 U.S.C. § 2155(a) and (b)

Assistant United States Attorney(s): Aaron Bond, Brandon Stone, Vikas Didwania

Contact Person and Phone Number: Aaron Bond - 312-469-6047 / 312-371-8434
